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10                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
11                                   SAN FRANCISCO DIVISION
12   CITY OF OAKLAND, a Municipal                    First Filed Case: No. 3:17-cv-6011-WHA
     Corporation, and THE PEOPLE OF THE              Related Case:     No. 3:17-cv-6012-WHA
13   STATE OF CALIFORNIA, acting by and
     through Oakland City Attorney BARBARA J.
14   PARKER,
15                                                   JOINT SUBMISSION REGARDING
                  Plaintiffs,                        SUPPLEMENTAL BRIEFING ON THE
16                                                   PEOPLE’S RENEWED MOTION TO
           v.                                        REMAND
17   BP P.L.C., a public limited company of
     England and Wales, CHEVRON
18   CORPORATION, a Delaware corporation,            THE HONORABLE WILLIAM H. ALSUP
     CONOCOPHILLIPS COMPANY, a Delaware
19   corporation, EXXON MOBIL
     CORPORATION, a New Jersey corporation,
20   ROYAL DUTCH SHELL PLC, a public
     limited company of England and Wales, and
21   DOES 1 through 10,
22                Defendants.
23   CITY AND COUNTY OF SAN
     FRANCISCO, a Municipal Corporation, and
24   THE PEOPLE OF THE STATE OF
     CALIFORNIA, acting by and through the San
25   Francisco City Attorney DENNIS J.
     HERRERA,
26
                  Plaintiffs,
27
           v.
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           JOINT SUBMISSION REGARDING SUPPLEMENTAL BRIEFING ON THE PEOPLE’S RENEWED
                                         MOTION TO REMAND
                            CASE NOS. 17-CV-6011-WHA AND 17-CV-6012-WHA
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 1   BP P.L.C., a public limited company of
     England and Wales, CHEVRON
 2   CORPORATION, a Delaware corporation,
     CONOCOPHILLIPS COMPANY, a Delaware
 3   corporation, EXXON MOBIL
     CORPORATION, a New Jersey corporation,
 4   ROYAL DUTCH SHELL PLC, a public
     limited company of England and Wales, and
 5   DOES 1 through 10,
 6                Defendants.
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           JOINT SUBMISSION REGARDING SUPPLEMENTAL BRIEFING ON THE PEOPLE’S RENEWED
                                         MOTION TO REMAND
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 1            Pursuant to this Court’s May 12, 2022 Minute Order, Dkt. 394, following the Status Conference
 2   held on the same day, the Parties have met and conferred and now jointly submit the following proposed
 3
     schedule for supplemental briefing on the People’s Renewed Motion to Remand, Dkt. 342. 1
 4
              1.     The People shall file their supplemental brief in support of remand on June 16, 2022,
 5
     and it shall not exceed 25 pages.
 6

 7            2.     Defendants shall file their supplemental opposition brief on July 21, 2022, and it shall

 8   not exceed 25 pages.

 9            3.     The People shall file their supplemental reply brief on August 11, 2022, and it shall not
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     exceed 15 pages.
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              4.     A hearing on the People’s Renewed Motion to Remand will be held on September 22,
12
     2022, to the extent the Court remains available on that date (the parties previously contacted the Court’s
13
     clerk and were informed that the Court was available on this date).
14

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16

17   Dated: June 3, 2022                                Respectfully submitted,
18
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     1
26     In making this Joint Submission, Defendants BP P.L.C., ConocoPhillips, Exxon Mobil Corporation,
     and Shell plc (f/k/a Royal Dutch Shell plc), do not waive any argument or defense regarding the Court’s
27   lack of personal jurisdiction over them, nor do they seek to vacate or alter the Court’s previous
     personal-jurisdiction order under Rule 12(b)(2).
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                                                        1
              JOINT SUBMISSION REGARDING SUPPLEMENTAL BRIEFING ON PLAINTIFFS’ RENEWED
                                           MOTION TO REMAND
                              CASE NOS. 17-CV-6011-WHA AND 17-CV-6012-WHA
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                                         MOTION TO REMAND
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         Case 3:17-cv-06011-WHA Document 401 Filed 06/03/22 Page 5 of 7


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                                    MOTION TO REMAND
                       CASE NOS. 17-CV-6011-WHA AND 17-CV-6012-WHA
     Case 3:17-cv-06011-WHA Document 401 Filed 06/03/22 Page 7 of 7


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 3
                                             ** Pursuant to Civ. L.R. 5-1(i)(3), the
 4                                           electronic signatory has obtained approval
                                             from this signatory
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      JOINT SUBMISSION REGARDING SUPPLEMENTAL BRIEFING ON THE PEOPLE’S RENEWED
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